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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                     Case No. 8:18-bk-01970-RCT
                                                           Chapter 7
John Allan Wolding

            Debtor(s).
______________________________/

                  TRUSTEE’S APPLICATION TO EMPLOY
          ACCOUNTANT AND FOR AUTHORITY TO PAY ANY TAXES DUE

         Christine L. Herendeen Chapter 7 Trustee in the above-captioned case, seeks the authority
of this court to employ an Internal Revenue Service Registered Tax Return Preparer with an
Enrolled Agent designation, licensed by the Internal Revenue Service, as accountant (hereinafter
referred to as “Accountant”) for this Estate pursuant to Section 327 of the Bankruptcy Code, and
to pay any taxes due, and states as follows:

       1.      The Trustee seeks to employ Larry S. Hyman C.P.A., 307 S. Boulevard, Suite B,
Tampa, FL 33606 to prepare Federal tax returns for the Estate. The Trustee believes it is
necessary to employ an Accountant for these services as a result of the sale of real property.

       2.       The Trustee has selected this accountant because he has the ability and experience
to render the necessary assistance and he is qualified within the meaning of the Section 327 (a)
through (f) of the Bankruptcy Code.

       3.     The Accountant has agreed to seek compensation that will range from $95.00 to
$335.00 per hour depending on the billing rate of the personnel working on the task to be
performed. Compensation is subject to approval of the court pursuant to Section 330 of the
Bankruptcy Code. The Accountant will not be paid without an application to and an order from
this Court.

       4.      The Accountant is a disinterested person within the meaning of Section 101(14) of
the Bankruptcy Code. To the best of the Trustee’s knowledge, the Accountant has no
connection with the debtor, creditors, any other party in interest, their respective attorneys and
accountants, or the United States Trustee.

        5.      The Trustee further seeks authority to pay any taxes due to the proper taxing
authority as determined by the filing of the tax return(s), including quarterly taxes, if necessary.
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        WHEREFORE, Trustee request this Court authorize the employment of Larry S.
Hyman, C.P.A. as Accountant in the capacity set forth above, to pay said accountant at the rates
set forth above pursuant to further order of this Court, and payment of the taxes due to the proper
taxing authority.

Dated: October 18, 2018
                                                Respectfully submitted,

                                                /s/ Christine L. Herendeen
                                                Christine L. Herendeen, Trustee
                                                P.O. Box 152348
                                                Tampa, FL 33684
                                                (813) 438-3833




                                 CERTIFICATE OF SERVICE

       I CERTIFY that on October 18, 2018, a true and correct copy of the foregoing has been

provided electronically or by U. S. mail to:

       U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

       Christie D Arkovich, Law Offices of Christie D Arkovich, 1520 West Cleveland St,
       Tampa, FL 33606

       John Alan Wolding, 15729 Scrimshaw Dr., Tampa, FL 33624

       Larry S. Hyman, C.P.A., 307 S. Boulevard, Suite B, Tampa, FL 33606

                                                /s/ Christine L. Herendeen
                                                Christine L. Herendeen




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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In Re:

John Allan Wolding                                                              8:18−bk−01970−RCT
                                                                                Chapter 7

                                Debtor(s)\

                                    OATH OF ACCOUNTANT

       Larry S. Hyman, C.P.A., hereby swears, deposes and states under penalty of perjury
pursuant to provisions of 28 U.S.C. §1746 that the following statements are true and correct:

        1. I am a certified public accountant licensed to practice public accountancy in the State
of Florida.

         2. I do not hold or represent an interest adverse to the estate, further

         3. I am a member of the Region 21, Tampa, Florida panel of Chapter 7 Trustees.

        4. I am a "disinterested person" as defined in Section 101(14). Under 101(14), such a
person: is not a creditor, equity holder or insider; is not and has not within 2 years been a director,
officer or employee of the debtor; and has no interest materially adverse to interest of the estate or
any class of creditors or security holders, by reason of direct or indirect relationship to, connection
with, or interest in, the debtor, or for any other reason, however

       5. I am the trustee in other unrelated bankruptcy cases and I have been employed as
accountant in other unrelated bankruptcy cases.


         DATED this 16th day of October , 2018.




                                                        Larry S. Hyman, C.P.A.
                                                        P.O. Box 18625
                                                        Tampa, Florida 33679
                                                        E-mail: Larry@larryhymancpa.com
